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                                                                                           12/8/2020
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 KIRAN VUPPALA,

                                   Plaintiff,
                                                                 20-cv-06808 (ALC)
                       -against-
                                                                 ORDER OF DISCONTINUANCE
 535 HUDSON REALTY LLC, a New York
 limited liability company,

                                   Defendant.

ANDREW L. CARTER, JR., United States District Judge:

         It having been reported to the Court that this case has been or will be settled, it is hereby

ORDERED that the above-captioned action is discontinued without costs and without prejudice to

restoring the action to this Court’s calendar if the application to restore the action is made within

thirty (30) days.

         The pre-motion conference scheduled for December 9, 2020 is also hereby adjourned.

SO ORDERED.

Dated:      December 8, 2020
            New York, New York

                                                               ANDREW L. CARTER, JR.
                                                               United States District Judge
